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                                                           U.S. Department of Justice

                                                           Andrew E. Lelling
                                                           United States Attorney
                                                           District of Massachusetts
Main Reception: (617) 748-3100                             John Joseph Moakley United States Courthouse
                                                           1 Courthouse Way
                                                           Suite 9200
                                                           Boston, Massachusetts 02210



                                                           March 3, 2020

SENT VIA E-MAIL AND FILED AT 19-CR-10080-NMG
Counsel of Record

          Re:       United States v. David Sidoo, et al.
                    Case No. 19-cr-10080-NMG

Dear Counsel:

       We write in response to your motions filed at Dkts. 648, 681, 693, 696, 699, 801, 865 and
886. In addition, we write in response to the January 28, 2020 letter sent on behalf of defendant
Wilson, the February 13, 2020 letter sent by attorneys for defendant Kimmel, the February 19,
2020 letter sent on behalf of all defendants, the February 28, 2020 letter sent on behalf of all
defendants, the February 28, 2020 letter sent on behalf of defendant McGlashan regarding
discovery, the February 28, 2020 email on behalf of defendant Abdelaziz, and the February 29,
2020 email on behalf of defendant Wilson.

          1. Enclosed please find the following discovery materials, produced pursuant to the
             agreed-upon protective orders:

                    •    FBI 302 and IRS reports of interviews with Rick Singer (Bates SINGER-
                         REPORTS-000001-000134);

                    •    FBI 302 and IRS reports of interviews with employees (including former
                         employees) of USC (Bates USC REPORTS-000001-000083);

                    •    Cellbrite Extraction Reports dated October 5 and 29, 2018, November 1, 29 and
                         30, 2018, January 16, 2019, February 15 and 28, 2019, and March 11, 2019 of
                         Singer’s iPhone 7-Plus (telephone number xxx-xxx-8802 and IMEI
                         35380708168xxxx), the phone Singer used to make recorded conversations
                         with the defendants in this case; and

                    •    Cellbrite Extraction Report dated November 7, 2018 of an LG phone used by
                         Singer (phone number 949-662-xxxx and IMEI 31041007076xxxx).
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       2. The government intends to produce the following discovery materials on or before
          March 13, 2020, pursuant to the agreed-upon protective orders:

              •   Contents of Singer’s Google Drive accounts;

              •   A video and related documentation regarding two cooperating witnesses; 1

              •   Handwritten notes created by Singer during the investigation currently in the
                  possession, custody, or control of the government;

              •   A written “script” that Singer used during calls with defendants and others;

              •   Additional FBI 302 and IRS interview reports prepared to date;

              •   Agent notes associated with the FBI 302 and IRS interview reports;

              •   T-III telephone calls and text messages not previously produced, including a
                  recorded call between Singer and government agents;

              •   A list of phones used by Singer during this investigation, dates of use and
                  purpose of the phone, the current status of each phone, any pen register data for
                  such phones, and Cellbrite Extraction Reports for each phone in the possession,
                  custody, or control of the government (to the extent not previously provided);

              •   Quickbooks files for The Key Worldwide Foundation and The Key;

              •   Emails and text messages from an individual the government expects to testify
                  at trial; 2

              •   “Ping” data for Singer’s iPhone 7-Plus (telephone number xxx-xxx-8802 and
                  IMEI 35380708168xxxx);

              •   Image of Singer’s laptop, seized on or about November 23, 2018; 3 and,

              •   Proffer agreements with Singer and others.

        3.     Finally, as the parties are aware, the government obtained emails and documents
from several defendants in this case. The government has set aside a number of e-mails that are
currently being reviewed for privilege. The government will produce all additional non-privileged
material, as soon as possible, from the following custodians: Rick Singer; Gordon Ernst; Donna



1
  The identities of the cooperators will be disclosed upon request.
2
  The identity of this potential witness will be disclosed upon request.
3
  The government will also produce the relvant portion of the grand jury transcript from the
operative Fourth Superseding Indictment related to Defendant McGlashan’s 18 U.S.C. § 666
charge when the government receives the transcript from the court reporter.
                                                2
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Heinel; Martin Fox; Mark Riddell; Amy Colburn; Diane Blake; Elisabeth Kimmel; Gamal
Abdelaziz; Homayoun Zadeh; Lori Loughlin; Robert Zangrillo; and, John Wilson.

        The government recognizes its ongoing discovery obligations and will continue to produce
additional discovery as required. If you have any questions regarding the materials enclosed, or
those that are forthcoming, please contact us at your earliest convenience.


                                       *       *         *

                                            Sincerely,

                                            ANDREW E. LELLING
                                            United States Attorney


                                    By:     /s/ Eric S. Rosen
                                            Eric S. Rosen
                                            Justin D. O’Connell
                                            Kristen A. Kearney
                                            Leslie A. Wright
                                            Karin M. Bell
                                            Assistant U.S. Attorneys


cc: Defendants in 19-CR-10081-IT 4
    M. Page Kelley, United States Magistrate Judge




4
  The government will provide the defendants in United States v. Ernst, et al., No. 19-cr-10081-
IT, with the same discovery as that being provided here.
                                               3
